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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF VIRGINIA
LYNCHBURG DIVISION

PETERS, RACHEL, N.,                                   )
                                                      )
                       Plaintiff,                     )
                                                               No. 6:23-cv-00044-NKM
                                                      )
v.                                                    )
                                                          STIPULATION OF DISMISSAL
                                                      )
                                                          BY DEFENDANT JPMORGAN
JP MORGAN CHASE & CO.,                                )
                                                               CHASE BANK, N.A.
                                                      )
                       Defendant.                     )
                                                      )

       PLEASE TAKE NOTICE, that defendant JPMorgan Chase Bank, N.A. (“Chase”),

erroneously named here as JP Morgan Chase & Co., hereby stipulates to dismissal of the above-

captioned action as requested by the plaintiff, Rachel N. Peters. Dkt. 11.

Dated: October 19, 2023
                                                     MORGAN, LEWIS & BOCKIUS LLP

                                                     By: /s/ Patrick A. Harvey
                                                         Patrick A. Harvey, Bar No. 78565
                                                         patrick.harvey@morganlewis.com
                                                         1111 Pennsylvania Avenue, NW
                                                         Washington, DC 20004
                                                         Telephone: 202.739.3000
                                                         Facsimile: 202.739.3001

                                                          Attorneys for JPMorgan Chase Bank,
                                                          N.A.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 19, 2023 I caused a copy of the foregoing to be served on

Plaintiff via email and first-class mail at the following address:

       Rachel N. Peters
       189 Lynview Drive
       Lynchburg, VA 24502
       rachelnstrong@icloud.com

                                                                     /s/ Patrick A. Harvey
